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                                    UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
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                                             SAN JOSE DIVISION
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     HYUN C. NOH, ET AL.,                )                     Case No.: C 11-01533 PSG
12                                       )
                       Plaintiffs,       )                     ORDER SETTING DEADLINE FOR PARTIES
13         v.                            )                     TO FILE EITHER A “CONSENT TO
                                         )                     PROCEED BEFORE A UNITED STATES
14                                       )                     MAGISTRATE JUDGE,” OR ELSE A
     AMERICAN HOME MORTGAGE              )                     “DECLINATION TO PROCEED BEFORE A
15   SERVICING, INC., ET AL.,            )                     UNITED STATES MAGISTRATE JUDGE AND
                                         )                     REQUEST FOR REASSIGNMENT”
16                     Defendants.       )
     ___________________________________ )
17
18          On April 6, 2011, Defendant American Home Mortgage Servicing, Inc. moved to dismiss.
19   This case has been assigned to a magistrate judge. Before the court takes any action on the motion
20   to dismiss, the court must determine whether or not all of the parties who have appeared consent to
21   Magistrate Judge jurisdiction, or whether any of the parties request reassignment to a District Judge.
22   Therefore,
23          IT IS HEREBY ORDERED that no later than April 14, 2011, each party shall file either a
24   “Consent to Proceed Before a United States Magistrate Judge,” or else a “Declination to Proceed
25   Before a United States Magistrate Judge and Request for Reassignment.” Both forms are available
26   from the clerk of the court, or from the Forms (Civil) section of the court’s website at
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                                                 ORDER, page 1
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 1   www.cand.uscourts.gov.
 2   Dated: April 7, 2011
 3                                      PAUL S. GREWAL
                                        United States Magistrate Judge
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                                      ORDER, page 2
